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Herndon, Virginia [20171-3514]

and Registered ma!| # RE 687 348 036 Us

Accused and/or their Trustees

Re: Administrative Judgement - Third Notice, to all in connection to Petition,
First Notice dated Ist February 2016 - complaint, Affidavit, Bill, Notice Claim
Arrest Warrant etc, Fault Notice, Second Notice dated 28th of June 2016, and
other supporting documents.

Parties ©

Accused:

Fictional entities, officers and agents, including but not limited to UNITED

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STATES OF AMERICA- Sub Corporate agencies Courts (USDCDC), UNITED STATES MARSHAL
Tetfley SERVICE, (BOP) FEDERAL BUREAU OF PRISONS- Officers and agents, Clerk of the Court

\ell Unknown name) USDCDC, Judge Christine M. Arguello, Keneth Harmon, John Walsh,
Cen Klaton Knabb, David Topolewski, Judge Boyd N. Boland, GtephervJehn—Netey, Fourth
Judicial District, El Paso County Colorado, Clerk of Court M.V. Perry, Judge

Karla J. Hensen, Warden Deborah Denham, Judge C. Dennis (sic), Trustees

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and agents of the "SS-Trust:" Added ~Sudge: Gil bert A. Matt! ez, ety ect
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Address:

UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLORADO
({USDCDC) Commercial Complaint #. 12-cr-0014@CMA-1

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Denver, Colorado 80294

Common Law Administrative Judgement
Case No. 1:12-cr-00140-CMA Document 109 filed 08/15/18 USDC Colorado pg 16 of 50

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Parties

Continued
Complaintants:

1) Office of Executor of the Trust known as MICHAEL DESTRY

_ WILLIAMS (C) SS# xxx-xx-0608, file# 1051964016457 herein

known as "SS-Trust"- a UNITED STATES OF AMERICA Corporate

citizen, A.K.A. Federal’ zone citizen. Office of Executor

was occupied and claimed on the 26th of Sune, 2013, to date,
by the sole foreign beneficiary, creditor, Equity Title

Holder, Executor, living man Michael-destry Family of
Williams.

Office of Executor of the SS-Trust
MICHAEL DESTRY WILLIAMS (C)
ATTN: Michael-destry: Executor
Rural Rout 1
St. Charles Mesa
Pueblo, Colorado
C/O: FCI-Englewood
BOP# 39714-0013
9595 West Quincy Avenue
Littleton, Colorado [80123]

2) Michael-destry Family of Williams- in propria persona, sui
3. juris, living man with Proof of Life, Creditor, beneficiary,
Equity Title Holder, Citizen of The United States of America;

(herein known as America), Colorado State Citizen, A.K.A.

State Zone Citizen, physically permanently disabled American
under God, Sole foreign beneficiary, creditor, Equity Title
Holder of the "SS-Trust"- MICHAEL DESTRY WILLIAMS (C).

Michael-dedstry Family of Williams
Rural Rout 1 .
St. Charles Mesa

Pueblo Colorado

Common Law Administrative Judgement

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Registered Mail #.

Complaintants (con):

C/O: MICHAEL DESTRY WILLIAMS (C) SS-Trust
. FCI Englewood
ut BOP# 39714-013
9595 West Quincy Avenue

Littleton, Colorado [80123]

This is public notice of Common Law Administrative Judgement assessed upon the
Accused, and notice to their Trustees, The Administrative Office of the United
States Courts, Bankruptcy Notice Center, and Federal Trade Commission. Thus,

Accused failed to answer, respond, (by lawful proof of service), to the complaintants,
in reference to thes Common Law Administrative Proceedures and Remedies Petition,

First Notice-Complaint, Claim, Bill, etc. dated lst of February, 2016, Fault Notice

dated 28th of June, 2016, Served upon the stated above Entitied and Individuals,
by third party, with registered and certified mailings.

As the registered and certified mail numbers are not identified herein, It is prima

facie evidence that the complaintants are being denied their Constitutional Rights

of Association, Due Process and Remedy, but not limited to. Being denied U.S. Mail

and other means of Correspondence and communication, to the outside public, friends
and family, Facilitated by, the prison and officials at the Federal Correctional

Institution FCI-Englewood 9595 West Quincy Avenue, Littleton, Colorado [80123]

The complaintant- the living man, beneficiary of the SS-Trust, impropria persona

sui juris, - Michael-destry Family of Williams, American and Colorado Citizen,

A.K.A. State Zone Citizen, is being denied access to the original Jurisdiction of

the Land, Article III Common Law Court - district court of the United States.

The Complaintant is being held, in a debtors prison, without Lawful Authority
(Kidnapped) by the Accused, as the unwilling compulsary surety, of the Accused's
defendant, (SS-Trust), in their commercial complaint/case, in their private

Admiralty Court - UNTTED STATES DISTRICT COURT OF THE DISTRICT OF COLORADO- (USDCDC),

under their private codes, statutes, and jurisdiction, under compelled: performance,

‘in involuntary servitude, economic Slavery, but not limited to.

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Common Law Administrative Judgement

Page 3 of 6
Case No. 1:12-cr-00140-CMA Document 109 filed 08/15/18 USDC Colorado pg 18 of 50

RE GBT A34TE O36 YS

Registered Mail #.

The comlaintant, SS-Trust, MICHAEL DESTRY WILLIAMS (C), by and through the Office

of Executor, has publicly and privately, notice all, of the Mismanagement and

Rape of the SS-Trust. Office of Executor- "highest office of the Landy" has

established a public claim, record and Arrest Warrant. Beginning 18th March,

2009, 28 June, 2013, 15 July, 2013, ist February, 2016, to date and ensuing.
Includes seizure of the Accused, Titles, securities, Bonds, Stocks, Funds, Real
Property, Currency, Assets, Commercial complaints/case but not limited to,

USDCDC # 12-cr-00146-CMA, # 12-cr-0014}CMA-1, 14-cv-02983-GPG and Fourth Judicial

District, El Paso, Colorado, Case# 06M1124. Also, the Executor has requested and

demanded that the SS-Trust be accounted, settled, closed and distributed to the
unrebutted sole beneficiary Michael- destry Family of Williams - American and

Colorado Citizen- non U.S. citizen, none Federal zone Citizen.
Common Law Administrative Judgement

This is partial Judgement of the Trespasses, injuries, and encroachments induced
by the Accused upon the complaintant, the living man, by and through their
commercial presentments/complaints/cases, without Lawful Authority or contract

with the complaintant, listed herein in this Common Law Administrative Proceedures
and remedies claim.

Partial Administrative Judgement by the complaintant, in the amount of °:.

11,400,000.00 silver species (1 oz. of .999 pure silver). Assessed against each

of the Accused and separately, owing the full amount in full in their commercial

and personal liabilities per entities and individuals.

Common Law Administrative Judgement

Page 4 of 6_
Case No. 1:12-cr-00140-CMA Document 109 filed 08/15/18 USDC Colorado pg 19 of 50

RE 6E7 348 0386 US

Registered Mail #.

Notice and Clarification:

Any and all Correspondence, response to the complaintants Common Law Administrative
Proceedures/notice/claims/judgement, must be facilitated by Lawful notice and
“Proof of Service, upon the Complaintants in their lawful and proper names,

_ Standing, status, and address - Rural Route 1, St. Charlse Mesa, Pueblo

Colorado, C/O FCI-Englewood Prison, BOP# 39714-013, 9595 West Quincy Avenue,

Littleton, Colorado, 80123. With return of receipt of signature of the complaintants,

- eStablishing lawful Proof of Service.

All Rights Reserved

Reserve the Right to change and/or add to this Common Law Administrative

Proceedures Notice, Complaint, Claim, Bill, Judgement, etc. '|.without Prejudice,
without Recourse.

Notice to principal is notice to agent, notice to agent is notice to principal,

assignees and/or assignors.

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by: Mehee|~ destrys Executor Michael destry Fam ky of ti/|

Office of Executor of the

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Michael-destry Family of Williams

Trust MICHAEL DESTRY WILLIAMS (C} Creditor/Beneficiary

Michael—destry: Executor American and Colorado Citizen

On behalf of Michael~destry Family of Williams than Williams

Family and any and all American Citizen.

' "AMANDA L. VARGAS
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NOTARY Si
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Notary Pubic LZ, LL.

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Common Law Administrative Judgement

Page'5 of 6 |
Case

No. 1:12-cr-00140-CMA Document 109 filed 08/15/18 USDC Colorado pg 20 of 50

RE 687 348 036 VS
Registered Mail #.

CC:

Solicit General of the United States
Room 5614 Department of Justice

950 Pennsylvania Ave. N.W.
Washington, D.C. [20530-0001]

Certified Mail# 7018 O3G0 C000 FBS4 AAT

UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLORADO

Clerk of the Court and Accused — Jeffery P, Colwell
901 19th Street

Denver, Colorado [80294]
Certified Mail#_7O'1® 0360 CPQ00 IBS4 Ay6Y4

Federal Trade Commission
600 Pennsylvania Ave. N.W.
Washington, D.c. [20580]

‘Certified Mail# 7O|B 9360 p000 IBSY as7]

FOURTH JUDICIAL DISTRICT

ATTN: Clerk of the Court and Accusea—A. Lynette D. Cornelis
270 S. Tejon

P.O. Box 2980
Colorado Springs, Colorado [80901]
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Administrative Office of the United States Courts - bor
One Columbus Circle N.E. [Atm Office of Pilec
Washington, D.c. [20514]

Certified Mail#_ 7OlI8 O340 o0m0 [TBS4 ATER

OVITED STATES OF AMERICA inc.
Registered agent: THE COMPANY CoRPORATTO: -

X71] Centerville Read, Suite 4oo

Wilmington, Delaware [eog
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Common Law Administrative Judgement ' !

Page 6 of 6
Feb 06 1@4S89do. 1:12-cr-00140-CMA Document 109 filed 08/15/18 USDC Colorado gp21 of 50

Affidavit of Service
L, Esther Jean Williams, on this 18 day of November 2016 mailed by and through the United
State Post Office:
TO:

And

1)

Administrative Office of the United States Courts
One Columbus Circle N.E.

Washington D.C. [20544]

ATIN: Administrator or Assignee

Registered Mail #RB 628 225 416 US

Bankruptcy Notice Center

Director: Joseph T. Speetjen, or Assignee
2525 Network Place, Third Floor
Herndon, Virginia [20171-3514]
Registered Mail #RB 628 225 402 US

Complaint, Affidavit, Bill, Notice, Claim Deed and Title document dated 1%
February 2016, 17 pages each, Public Recordings #2016032990 and #2016032989,
City & County of Demver Clerk and Recorders Office on 3/15/2016

Supporting Documents Enclosed

01) Court Petition, marked Exhibit A, 2 pages, Demanding Transfer and Invoking Article
TI. Common Law Court of Competent Jurisdiction, recorded with the U.S. District
Court, District of Colorado on the 15" of July 2013

02) Notice dated 14% of July 2013, marked Exhibit B, from the Office of Executor of the
Trust known as MICHAEL DESTRY WILLIAMS© addressed To the United States
District Court for the District of Colorado, Attn: Honorable Judge Christine M.
Arguello/Acting Trustee, stamped received by Clerk of the Court on 2013 Suty 15

03)Notice dated 15 of July 2013, marked Exhibit C, from the Office of Executor of the
Trust known as MICHAEL DESTRY WILLIAMS6©, Arrest Warrant, fled im: °
United States District Court for the District of Colorado, Honorable Judge Christine
M. Arguello/Acting Trustee, stamped received 2013 July 15 by Court Clerk

04) Exhibit D, dated 7-30-13, 1210 Hrs. by Aurora Personnel, Mailing envelope marked
“RTS Claims Unlawful Address & Name, Need to send to Trustee”

05) IRS Form SSA-521, dated March 18, 2009, 2 pages, Public Recording #1970982 at
Pueblo County Clerk/Recorder, dated 03/28/2014

06) IRS Form SSA-521, 2 pages, dated May 15, 2014, Request for Withdrawal of
Application referencing Attachment #806080-1

07) Attachment, dated May 15, 2014, to Form SSA-521 #806080-1 in conjunction with
Form SSA-521, dated 18 March 2009, 3 pages

08) Letter to Board of Trustees, dated May 23, 2014, 2 pages, Third Praecipe Notice and
Request ~~ oo.

Page 1 of 4
Affidavit of Service

Feb 06 f7ag@ dyo. 1:12-cr-00140-CMA Document 109 filed 08/15/18 USDC Colorado pg,22 of 50

09} Power of Attorney and. Notice of Authority for the Trust known as MICHAEL
DESTRY WILLIAMSO©, publicly notarized February 25, 2014, Guillermo H.
Gutierrez, Adams County, Colorado; Public Record #1969491 at Pueblo County
Clerk/Recorder Office, Pueblo County, Colorado, dated 03/11/2014

10) Notice from Office of Executor, Trust known as MICHAEL DESTRY WILLIAMS©,
dated 25" February 2014, publicly notarized February 25, 2014, Guillermo H.
Gutierrez, Adams County, Colorado; Public Record #1969492 at Pueblo County
Clerk/Recorder Office, Pueblo County, Colorado, dated 03/11/2014

11) Letter of Acceptance Office of Executor of the Trust known as MICHAEL DESTRY
WILLIAMS6, notarized February 25, 2014, Guillermo H. Gutierrez, Adams County,
Colorado; Public Record #1969490 at Pueblo County. Clerk/Recorder Office, Pueblo
County, Colorado, dated 03/11/2014

12) Letter of Request, dated on 25% February 2014 and publicly notarized on 25 February
2014, Guillermo H. Gutierrez, Adams County, Colorado; Public Record #1969493 at
Pueblo County Clerk/Recorder Office, Pueblo County, Colorado, dated 03/11/2014

13) Order — Office of Executor, dated 1* November 2013, TO: THE UNITED STATES
DISTRICT COURT OF THE DISTRICT OF COLORADO, Clerk of the Court and
Acting Judge Christine M. Arguello, and publicly notarized 11-1-13, Guillermo H.
Gutierrez, Adams County, Colorado

14) Affidavit from the Office of Executor, 2 pages, dated 13th August 2013, and publicly
notarized on 8-20-13, Guillermo H. Gutierrez, Adams County, Colorado

15) Affidavit from Michael-destry Family of Williams, dated 1st November 2013, and
publicly notarized on 11-8-13, Guillermo H. Gutierrez, Adams County, Colorado

16) Form 56 ~ Notice Concerning Fiduciary. Relationship, 2 pages, dated 2nd March
2014, publicly notarized on 3/2/14, Guillermo ¥. Gutierrez, Adams County,
Colorado; Public Record #1969496 at Pueblo County Clerk/Recorder Office, Pueblo
County, Colorado, dated 03/11/2014 -

17) Letter, dated February 23, 2009, to Deputy Commissioner International, Department
of the Treasury/Internal Revenue Service Center, Austin, Texas 73301 and Proof of
Registered Mail HRA 218 748 837 US, dated 02/24/2009, RE: W-8BEN and

Declaration, 2 pages; Cc to Secretary of the US Treasury, 1500 Pennsylvania Ave
NW, Washington, D.C. 20220

18) W-8BEN Form, dated 02-04-2009, stamped received 02-26-2009

19) Declaration of Michael-Destry: for the family of Williams, a Living Man, Non-
Resident Alien, date executed February 23% A.D. 2009; witnessed by two of the
People; publicly notarized 24% February 2009, by James Galladora, East Baton
Rouge, Louisiana

20) Letter, dated February 23, 2009, to Deputy Commissioner International, Department
of the Treasury, Bensalem, PA 19020, and Proof of Registered Mail #RA 218 748
783 US, dated 02/24/2009, RE: W-8BEN and Declaration, 2 pages; Cc to Secretary of
the US Treasury, 1500 Pennsylvania Ave. NW, Washington, D.C. 20220

21) W-8BEN Form, dated 02-04-2009, stamped received 02-26-2009

22) Declaration of Michael-Destry: for the family of Williams, a Living Man, Non-

_ __ Resident Alien, date executed February 23", A.D. 2009; wimessed by two of the

Page 2 of 4
Affidavit of Service

Feb 06 47499 NO. 1:12-cr-00140-CMA Document 109 filed 08/15/18 USDC Colorado P9468 of 50

People; publicly notarized 24" February 2009, by James Galladora, East Baton
Rouge, Louisana °

23) Apostille (Convention de La Haye du 5 Octobre 1961) of Public Notice, Declarations,
and Honorable Clarifications Apostille, State of Louisiana, No. 5524, 22 October
2008; Public Recording #1969494, 11 pages, at Pueblo County Clerk/Recorder,
Pueblo County, Colorado, dated 03/11/2014

24) Deed of Secondary Conveyance of Incorporeal Hereditaments, An Authenticated
Foreign Document, Hague Convention, 5 October 1961, Apostille of PUBLIC
NOTICE, DECLARATIONS, AND HONORABLE CLARIFICATIONS, State of
Louisiana, No. 5524, 22 October 2008; Certified and publicly notarized 22™ October
2008, by James Galladora, East Baton Rouge Parish, Louisana; Public Recording

#1787988, 9 pages, at Pueblo County Clerk/Recorder, Pueblo County, Colorado,
dated 11/12/2008

Copies to

Bankruptcy Notice Center

Attn: Director Joseph T. Speetjen, Jr. or Assignee
2525 Network Place, 3“ Floor

Herndon, Virginia [20171-3514]
By Registered Mail # RB 628 225 402 US

Federal Trade Commission

600 Pennsylvia Avenue N.W.
Washington D.C. [20580]

By Registered Mail #RB 628 225 380 US

Solicit General of the United States

Room 5614, Department of Justice

950 Pennsylvania Avenue N.W.

Washington, D.C. [20530-0001]

By Certified Mail #7015 1520 0001 6174 3928

UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLORADO
Clerk of the Court and Accused

901 19* Street
Denver, Colorado [80294]
By Certified Mail #7015 1520 0001 6174 3911

. Page 3 of 4
Affidavit of Service

ren ve IC aSe'RNo. 1:12-cr-00140-CMA Document 109 filed 08/15/18 USDC Colorado §g 24 of 50

Fourth Judicial District

Attn: Clerk of the Court and Accused

270 South Tejon

PO Box 2980

Colorado Springs, Colorado [80901]

By Certified Mail #7015 1520 0001 6174 3904

‘ Deputy Commissioner (international)
Department of Treasury/
Internal Revenue Service Center

Austin, Texas [73301-0215]
U.S.A.

By Certified Mail #7015 1520 0001 6174 3942

1, Esther Jean Williams, do affirm that above-stated mailings have been mailed by and through
and correct with clean hands.

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Esther Jean Williams
1024 East Ash ‘Street, Pueblo, Colorado f81001]
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Commission Expiration Date

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NOTARY PUBLIC.
STATE OF COLORADO
NOTARY IO 20164017673
{| My Commission Expires 05-06-2020

Page 4 of 4
Affidavit of Service

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Affidavit of Service

I, Esther Jean Williams, on this 25" day of January 2017 mailed by and through the
United State Post Office:

TO: Bankruptcy Notice Center
Director: Joseph T. Speetjens, or Assignee
Accused and/or their Trustees
2525 Network Place
Herndon, Virginia [20171-3514]
Registered Mail #RB 628 225 376 US

Bankruptcy Noticing Center, Herndon, VA 20171, FAX (703)563-7508

Bankruptcy Noticing Center, 45479 Hollywood Dr., Sterling, VA 20166, FAX
(517)392-9103

RE: Fault Notice, to all, in relation to Petition, First Notice dated 1% February,
2016 — Complaint, Affidavit, Bill, Notice, Claim, etc.;
Arrest Warrant of Commercial Complaint, Failure to appear in the 4" Judicial
District, Bonds of Gilbert A. Martinez and Dr. Lynette Comelius; .
Lawful proof of Citizenship of Michael-destry: Family of Williams

First Notice Petition—Complaint, Affidavit, Bill, Notice, Claim Deed and Title
document dated 1% February 2016, 17 pages each, Public Recording #2016032990,
City & County of Denver Clerk and Recorders Office on 3/15/2016. Sent by USPS
on November 19, 2016; Received by:

Bankruptcy Notice Center, Registered Mail #RB 628 225 402 US

Solicit General of the United States, Certified Mail #7015 1520 0001 6174 3928

UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLORADO, Certified
Mail #7015 1520 0001 6174 3911

Federal Trade Commission, Registered Mail #RB 628 225 380 US
Fourth Judicial District, Certified Mail #7015 1520 0001 6174 3904

Administrative Office of the United States Courts, Registered Mail #RB 628 225 416 US
Deputy Commissioner (International), Department of Treasury,
Certified Mail #7015 1520 0001 6174 3942

Copies to:

Solicit General of the United States

Room 5614, Department of Justice

950 Pennsylvania Avenue N.W.

Washington, D.C. [20530-0001]

Certified Mail #7016 2070 0000 2273 4863 ——_

_ Page 1 of 2
Affidavit of Service

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UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLORADO
Clerk of the Court and Accused

901 19® Street
Denver, Colorado [80294]
Certified Mail #7016 2070 0000 2273 4856

. Federal Trade Commission
600 Pennsylvania Avenue N.W.
Washington D.C. [20580}
Certified Mail #7016 2070 0000 2273 4849

. Fourth Judicial District
Attn: Clerk of the Court and Accused
270 South Tejon
PO Box 2980
Colorado Springs, Colorado [80901]
Certified Mail #7016 2070 0000 2273 4832

Administrative Office of the United States Courts’
One Columbus Circle N.E.

Washington, D.C. [20544]
Certified Mail #7016 2070 0000 2273 4825

I, Esther Jean Williams, do affirm that above-stated mailings have been mailed by
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Affidavit of Service

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U.S. DEPARTMENT OF JUSTICE

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